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                     UNITED STATES DISTRICT COURT

                          DISTRICT OF MINNESOTA




O’Shea Chairse and Sean Burgess, on            Civil File No. 23-cv-355 (ECT/ECW)
behalf of themselves and all others
similarly situated,
                           Plaintiffs,
                                               FIRST AMENDED CLASS ACTION
      vs.                                              COMPLAINT
State of Minnesota Department of
Human Services and Minnesota                       JURY TRIAL DEMANDED
Commissioner of Human Services Jodi
Harpstead, in her official and
individual capacities,
                          Defendants.



                        PRELIMINARY STATEMENT
   1. This suit challenges the failure of the State of Minnesota Department
      of Human Services (“DHS”) to comply with Minn. Stat. § 253B.10, subd.
      1(b), which requires DHS to transfer civilly committed inmates to a
      state-operated treatment facility within 48 hours of their civil
      commitment.
   2. There are more than 60 inmates who have been waiting weeks or even
      months to be transferred to a state-run treatment facility following
      their civil commitment. Additional individuals were previously harmed
      and/or will be harmed in the future by DHS’s failure to transfer them to
      a state-operated treatment facility within 48 hours of their civil
      commitment.
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3. A 2016 report from the Office of the Legislative Auditor warned about
   violations of Minn. Stat. § 253B.10. The report found the availability of
   “secure inpatient beds” was “inadequate” to meet demand in 2016.
4. The same report stated that “delays in placing individuals into
   treatment . . . may have increased county jails’ risks, potentially
   affecting the health or safety of the patient, fellow jail inmates, and jail
   staff.”
5. In September 2022, Scott County Judge Christopher Wilton said,
   referring to Minn. Stat. § 253B.10, “I’ve never seen a statute where
   there’s just overt failure to comply, and it’s not even close.”
6. In an October 26, 2022 order, Scott County Judge Colleen King
   concluded that the “law requires that within 48-hours of commitment,
   the committed person must be placed by the Commissioner of Human
   Services in a state-operated treatment facility.”
7. Judge King stated: “The Commissioner of Human Services has violated
   the 48-hour rule in Scott County cases since at least the spring of 2021 .
   . . . Since that time, at least 4 individuals have been committed in Scott
   County under circumstances where the 48-hour rule would apply, and
   in each of those cases, the committed person was not transferred out of
   the jail for treatment within, or even close to, 48-hours.”
8. Judge King stated: “The Scott County Jail is not a treatment facility.”
9. Judge King stated: “Petitioner has been denied necessary care for his
   mental illness while in the jail. The petitioner has thus been denied due
   process under the United States and Minnesota Constitutions.”
10. Judge King stated: “The Commissioner of Human Services has failed to
   comply with a duty imposed by law necessitating judicial intervention
   and oversight. The 48-hour rule found in M.S.A. §253B.10, subd. 1


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   creates a clear and unequivocal legal duty for the Commissioner to
   place the Petitioner in a state-operated treatment program within 48-
   hours of his commitment . . . . There is no exception [to] that 48-hour
   rule under Minnesota law.”
11. Judge King stated: “The Commissioner has been aware that compliance
   with the 48-hour rule is required and has had ample time to comply
   given that this issue was identified in 2016 in a report from the Office
   of the Legislative Auditor.”
12. In November 2022, Scott County Judge Colleen King said, “There are
   countless . . . individuals who are languishing in jails because the issue
   has not been addressed. Wrongful incarceration is not the United
   States of America.”
13. The situation in Scott County described by Judge King is not unique to
   Scott County, but reflects a pattern occurring throughout the State of
   Minnesota.
14. In a December 21, 2022 order, Scott County Judge Christian Wilton
   commanded Minnesota Commissioner of Human Services Jodi
   Harpstead “to provide the Court with 30-day reports concerning all
   cases in the State of Minnesota to which the 48-hour rule applies,
   identifying the originating County and the time and date that the 48-
   hour period would have expired for each patient.”
15. DHS appealed Judge Wilton’s December 21, 2022 order, arguing that
   Judge Wilton does not have the authority to require Commissioner Jodi
   Harpstead to submit monthly reports about her efforts to comply with
   Minn. Stat. § 253B.10.
16. On behalf of themselves and a class of similarly situated persons,
   Plaintiffs O’Shea Chairse and Sean Burgess file this action for


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   injunctive and/or monetary relief under 42 U.S.C. §§ 1983 and 1988,
   the Minnesota Constitution, and the common law of Minnesota.
   Plaintiffs seek an immediate writ of mandamus to compel Defendants’
   compliance with the law and for damages.
                                 PARTIES
17. Plaintiff O’Shea Chairse (“Plaintiff”) is a resident of Minnesota.
18. Plaintiff Sean Burgess is incarcerated at the Ramsey County Adult
   Detention Center.
19. Defendant DHS is an agency of the State of Minnesota that has failed
   and continues to fail to comply with Minn. Stat. § 253B.10.
20. Defendant Jodi Harpstead is a resident of Minnesota. Harpstead serves
   as the Minnesota Commissioner of Human Services, and was at all
   times material herein responsible for DHS’s compliance with
   Minnesota law, including Minn. Stat. § 253B.10. Plaintiff is suing
   Harpstead in her official and individual capacities.
                             JURISDICTION
21. This is an action for injunctive and/or monetary relief under 42 U.S.C.
   §§ 1983 and 1988, the Minnesota Constitution, and the common law of
   Minnesota. This Court has jurisdiction over this matter pursuant to 28
   U.S.C. §§ 1343(a)(3), 1331, and 1367. Venue lies properly in this
   District pursuant to 28 U.S.C. § 1391, as the events giving rise to this
   action occurred in this District and, on information and belief,
   Defendants reside in this District.
                             BACKGROUND
22. On or about October 17, 2022, Plaintiff Chairse was civilly committed
   as a person who posed a risk of harm due to a mental illness and a
   chemically dependent person to the Commissioner of Human Services.


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23. However, the Commissioner of Human Services did not transfer
   Plaintiff Chairse to a state-run facility within 48 hours of his civil
   commitment on or about October 17, 2022.
24. Instead, he remained in the Hennepin County Jail until December 5,
   2022, when his caseworker was able to have him admitted into New
   Way Treatment Center. During his time in Hennepin County Jail, he
   was denied his mental health medications and was kept in a suicide
   unit where he was only allowed out of his cell for short periods to
   shower or use the telephone.
25. On or about November 9, 2022, Plaintiff Burgess was civilly committed.
26. However, the Commissioner of Human Services did not transfer
   Plaintiff Burgess to a state-run facility within 48 hours of his civil
   commitment on or about November 9, 2022.
27. Instead, he remained in the Ramsey County Adult Detention Center
   until early February 2023, when he was admitted into a drug
   treatment center. However, Plaintiff Burgess became sick with COVID-
   19 while at the drug treatment center and was removed from the center
   for related reasons, and later returned to the Ramsey County Adult
   Detention Center, where he has been incarcerated (and not transferred
   to a state-run facility) for weeks.
28. Plaintiffs and others similarly situated suffered unlawful incarceration,
   lack of access to mental health therapy and treatment, use of force,
   diminished quality and enjoyment of life, and psychological trauma and
   distress due to Defendants’ actions and omissions discussed in this
   Complaint.




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                    CLASS ACTION ALLEGATIONS
29. Plaintiffs bring this action on behalf of themselves and all others
   similarly situated pursuant to Federal Rule of Civil Procedure 23.
30. Plaintiffs seek to represent two classes defined as: (1) all persons who
   have been detained in any jail or prison for more than 48 hours after
   having been ordered civilly committed under circumstances described
   in any of the four sub-paragraphs of Minn. Stat. § 253B.10, subd. 1(b),
   but have since been admitted to a state-run treatment facility (the
   “Delayed Admission Class”); and (2) all persons who have been
   detained in any jail or prison for more than 48 hours after having been
   ordered civilly committed under circumstances described in any of the
   four sub-paragraphs of Minn. Stat. § 253B.10, subd. 1(b), and have not
   yet been admitted or re-admitted (the “Awaiting Admission Class”).
31. The proposed classes are so numerous that joinder of all members is
   impracticable. The Delayed Admission Class would extend back to the
   applicable statute of limitations, meaning it is likely that the Delayed
   Admission Class alone would contain hundreds of members.
32. There are questions of law and fact common to members of the
   proposed classes. These questions predominate over any questions
   unique to any individual class member and include, but are not limited
   to, the following:
       Whether Minn. Stat. § 253B.10 (“Patients described in this
         paragraph must be admitted to a state-operated treatment
         program within 48 hours.”) requires DHS to transfer a civilly
         committed inmate within 48 hours of their civil commitment;
       Whether the liberty interest Plaintiffs and class members have in
         being transferred to a state-operated treatment programs within


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         48 hours of being civilly committed has been or is being violated
         by Defendants; and
       Whether Defendant’s violation of the 48-hour rule discussed in
         this Complaint violates Plaintiffs’ and class members’
         independent due process right to adequate medical care;
       Whether Defendants’ conduct violates procedural and/or
         substantive due process under the Minnesota or U.S.
         Constitution;
       Whether Defendants’ conduct constitutes false imprisonment;
         and
       Plaintiffs’ and class members’ damages.
33. The claims of the representative parties, the named plaintiffs, are
   typical of the claims of the members of the class.
34. The representative parties, the named plaintiffs, will fairly and
   adequately protect the interests of their respective classes. Plaintiffs
   and class members have not interests adverse to the interests of their
   respective classes. Plaintiff are committed to prosecuting this action to
   final resolution and have retained competent counsel with experience
   in class action and civil rights litigation who will vigorously pursue this
   litigation on behalf of the classes.
35. A class action is superior to other methods of adjudicating this
   controversy.
36. The prosecution of separate actions by individual members of the
   classes would create a risk of inconsistent or varying adjudications,
   establishing incompatible standards of conduct for Defendants.




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37. Defendants have acted or refused to act on grounds generally
   applicable to the classes, thereby making appropriate final injunctive
   and/or monetary relief with respect to the classes as a whole.
38. The identity of class members would be easily ascertainable from
   Defendants’ records.
                          CLAIMS FOR RELIEF
                               COUNT 1
  42 U.S.C. § 1983 – Fourteenth Amendment Substantive Due Process
                  Violations Against Both Defendants

39. Plaintiff and class members restate the allegations contained in the
   previous paragraphs as if fully set forth herein.
40. Based on the above factual allegations, Defendants, through their
   actions, acting under the color of state law, violated Plaintiff’s and class
   members’ constitutional right to substantive due process under the
   Fourteenth Amendment to the United States Constitution by failing to
   transfer Plaintiff and class members to a state-operated treatment
   facility within 48 hours of their civil commitment. See, e.g., Hall v.
   Lombardi, 996 F.2d 954, 958 (8th Cir. 1993) (“There are many Supreme
   Court and Eighth Circuit cases that support the ‘general, well-
   developed legal principle’ that regulations which contain ‘particularized
   substantive standards or criteria that guide the exercise of discretion . .
   . create a protectible liberty interest. . . . Moreover, when these
   regulations contain language of a mandatory nature (shall, will, must),
   they are interpreted as creating a protectible liberty interest.”).
41. As a result of this due process violation, Plaintiff and class members
   suffered damages.




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                                COUNT 2
    42 U.S.C. § 1983 – Fourteenth Amendment Procedural Due Process
                   Violations Against Both Defendants

42. Plaintiff restates the allegations contained in the previous paragraphs
   as if fully set forth herein.
43. Based on the above factual allegations, Defendants, through their
   actions, acting under the color of state law, violated Plaintiff’s and class
   members’ constitutional right to procedural due process under the
   Fourteenth Amendment to the United States Constitution by failing to
   provide notice or an opportunity to be heard regarding their decision
   not to transfer Plaintiff and class members to a state-operated
   treatment facility within 48 hours of their civil commitment.
44. As a result of this due process violation, Plaintiff and class members
   suffered damages.
                             COUNT 3
      Negligence and Negligence Per Se Against Both Defendants

45. Plaintiff and class members restate the allegations contained in the
   previous paragraphs as if fully set forth herein.
46. Based on the above factual allegations, Defendants owed Plaintiff and
   class members a duty of care to follow Minnesota state law.
47. Defendants breached this duty of care by failing to transfer Plaintiff
   and class members to state-operated treatment facilities within 48
   hours of their civil commitment.
48. DHS is vicariously liable to Plaintiff and class members for the
   negligence of its employees, including but not limited to Defendant
   Harpstead.
49. As a direct and proximate result of this negligence, Plaintiff and class
   members suffered damages.

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                                 COUNT 4
Substantive Due Process Under the Minnesota Constitution Against Both
                                 Defendants
50. Plaintiffs and the Plaintiff Classes restate and reallege the previous
   paragraphs above.
51. The Due Process protections guaranteed by the Minnesota Constitution
   are coextensive with those guaranteed by the United States
   Constitution. State v. Holloway, 916 N.W.2d 338, 344 (Minn. 2018).
52. Plaintiffs and the Plaintiff Classes had a liberty interest in freedom
   from incarceration and punishment – or incarceration and punishment
   greater than the term to which they were sentenced, if any – that is
   entitled to Substantive Due Process protection.
53. Plaintiffs and the Plaintiff Classes are members of particularly
   vulnerable community in need of special care and consideration
   because they are least able to assure the protection of their rights and
   needs. Prolonged confinement in jailhouse or prison conditions is
   punitively detrimental to the health and wellbeing of those with severe
   mental impairments.
54. Defendants’ conduct directly led to the prolonged confinement of
   society’s most vulnerable members. Defendant’s systematic and
   ongoing disregard for the safety and active sabotage of the wellbeing of
   Plaintiffs and the Plaintiff Classes evinces deliberate injurious intent,
   shocks the conscience, and interferes with rights implicit in the concept
   of ordered liberty. This incarceration is punishment that is prohibited
   under the Minnesota Constitution absent a criminal conviction.




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                                    Count 5
 Procedural Due Process Under the Minnesota Constitution Against Both
                                  Defendants
55. Plaintiffs and the Plaintiff Classes restate and reallege all previous
   paragraphs of this Complaint.
56. The Due Process protections guaranteed by the Minnesota Constitution
   are coextensive with those guaranteed by the United States
   Constitution. State v. Holloway, 916 N.W.2d 338, 344 (Minn. 2018).
57. Plaintiffs and the Plaintiff Classes have a liberty interest to be
   admitted to a state-operated treatment program within 48 hours of
   their commitment. The 48-hour rule is not discretionary. The statutory
   language is clear and unambiguous. The statute at issue mandates that
   Plaintiffs and the Plaintiff Classes, by falling within the ambit of civil
   commitments subject to the 48-hour rule, had a concrete expectation
   that they would be released from jail and admitted into treatment
   within 48 hours.
58. Defendants’ conduct constitutes a substantial deprivation of liberty.
   Under the statute at issue, persons who are committed are not only
   entitled to proper mental health treatment, but a host of other services
   and liberties not otherwise afforded to jail detainees or prisoners.
   Despite being found in substantial need of commitment, Defendants’
   conduct directly caused Plaintiffs and the Plaintiff Classes to be held in
   jail or prison for weeks or months.
59. Plaintiffs and the Plaintiff Classes’ liberty interest is entitled to Due
   Process protection, which Defendants violated by refusing to admit
   them to a state-operated treatment program within 48 hours of their
   commitment.


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60. Plaintiffs and the Plaintiff Classes had a separate and independent
   Due Process right to adequate medical care while in state custody.
61. The medical needs of Plaintiff Burgess and the Awaiting Admission
   Class are unquestionably serious and apparent, as those needs were
   found by courts to be serious enough to warrant competency
   examination and treatment.
62. Defendants conduct, by failing to admit these individuals within the
   required 48 hours after a court order committing them to Defendants’
   custody, was and continues to be deliberately indifferent to these
   serious medical needs by continuously denying and delaying Plaintiff
   Burgess’s and the Awaiting Admission Class’s access to treatment they
   needed.
63. Similarly, the medical needs of Plaintiff Chairse and the Delayed
   Admission Class were unquestionably serious and apparent, as those
   needs were found by courts to be serious enough to warrant competency
   examination and treatment.
64. Defendants, by failing to timely admit these individuals after a court
   order committing them to Defendants’ care, were deliberately
   indifferent to these serious medical needs by delaying Plaintiff
   Chairse’s and the Delayed Admission Class’s access to treatment they
   needed.
                                  Count 6
    False Imprisonment Under Minnesota Common Law Against Both
                                 Defendants
65. Plaintiffs and the Plaintiff Classes restate and reallege the previous
   paragraphs above.




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66. Defendants acted intentionally to confine Plaintiffs and the Plaintiff
   Classes and caused such confinement to continue, which caused
   Plaintiffs and the class members harm. Defendants did so within the
   scope of Defendants’ office or employment.
67. A private person who confined Plaintiffs and the class members under
   the circumstances alleged herein would be civilly liable to Plaintiffs and
   the class members for false imprisonment.
68. As a direct and proximate result of Defendants’ conduct, Plaintiffs and
   the class members sustained damages for which Defendants are liable,
   in an amount to be established at trial.
69. Defendants had knowledge of and intentionally disregarded facts that
   create a high probability of injury to the rights and safety of Plaintiffs
   and the class members, and acted in conscious and intentional
   disregard of that probability of injury.
                                   Count 7
  Intentional Infliction of Emotional Distress Under Minnesota Common
                       Law Against Both Defendants
70. Plaintiffs and the Plaintiff Classes restate and reallege all previous
   paragraphs above.
71. Defendants’ intentional conduct as alleged herein is extreme and
   outrageous, in that it passes the boundaries of decency and is utterly
   intolerable to the civilized community.
72. Defendants’ conduct caused severe emotional distress to Plaintiffs and
   the Classes.
73. A private person who acted in the way Defendants did under the
   circumstances alleged herein would be civilly liable to Plaintiffs and the
   class members for intentional infliction of emotional distress.


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74. As a direct and proximate result of Defendants’ conduct, Plaintiffs and
   the Classes sustained damages for which Defendants are liable, in an
   amount to be established at trial.
75. Defendants had knowledge of and intentionally disregarded facts that
   create a high probability of injury to the rights and safety of Plaintiffs
   and the Classes and acted in conscious and intentional disregard of
   that probability of injury.
                                   Count 8
               Petition for Alternative Writ of Mandamus
76. Plaintiffs and the Plaintiff Classes restate and reallege all previous
   paragraphs above.
77. Defendants’ refusal to admit Plaintiff Burgess and the Awaiting
   Admission Class Members to state-operated treatment facilities as
   required by Minn. Stat. § 253B.10, subd. 1(b) entitles Plaintiff Burgess
   and the Awaiting Admission Class Members to issuance of an
   alternative writ of mandamus that compels Defendants to comply with
   the law and awards Plaintiff Burgess and the Awaiting Admission
   Class members any damages resulting from Defendants’ failure to do so


                         PRAYER FOR RELIEF
   Plaintiff requests that the Court:
1. Certify this matter as a class action under Federal Rule of Civil
   Procedure Rule 23;
2. Define the certified classes as (1) all persons who have been detained in
   any jail or prison for more than 48 hours after having been ordered
   civilly committed under circumstances described in any of the four sub-
   paragraphs of Minn. Stat. § 253B.10, subd. 1(b), but have since been


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   admitted to a state-run treatment facility (the “Delayed Admission
   Class”); and (2) all persons who have been detained in any jail or prison
   for more than 48 hours after having been ordered civilly committed
   under circumstances described in any of the four sub-paragraphs of
   Minn. Stat. § 253B.10, subd. 1(b), and have not yet been admitted or re-
   admitted (the “Awaiting Admission Class”).
3. Issue a judgment declaring that Defendants violated and continue to
   violate the right to due process enshrined in the Minnesota and United
   States Constitutions when they fail to transfer civilly committed
   inmates to state-operated treatment facilities withing 48 hours of their
   civil commitment, and an order permanently enjoining Defendants
   from depriving Plaintiffs and the class members of their constitutional
   rights.
4. Appoint Plaintiffs and their counsel to represent the classes pursuant
   to Federal Rule of Civil Procedure 23;
5. Issue a writ of mandamus compelling Defendants’ compliance with
   Minn. Stat. § 253B.10(b);
6. Schedule a jury trial on the claims of Plaintiffs and class members;
7. Award injunctive relief and/or damages to Plaintiffs and class members
   for the harm they have suffered against each Defendant, jointly and
   severally, including but not limited to compensatory, pecuniary, and
   medical expense damages;
8. Award punitive damages against Defendant Jodi Harpstead pursuant
   to Smith v. Wade, 461 U.S. 30 (1983);
9. Award pre- and post-judgment interest, to the extent allowable;
10.      Award reasonable attorneys’ fees and costs pursuant to 42 U.S.C.
   § 1988; and


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  11. Provide any additional relief the Court deems just and proper.
                               JURY DEMAND
      Plaintiff and class members request a jury trial for all matters so
triable by a jury.

                            THE LAW OFFICE OF ZORISLAV R. LEYDERMAN


Dated: March 7, 2023                 By: s/ Zorislav R. Leyderman
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